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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

I. (a) PLAINTIFFS ( Check box if you are representing yourself [[] )

PHILLIP LUNN, an individual;
CHIE LUNN, an individual; and
DAVIN LAGARDE GREEN, an individual,

DEFENDANTS = ( Check box if you are representing yourself [“] )

CITY OF LOS ANGELES, a governmental entity,

 

(b) County of Residence of First Listed Plaintiff Los Angeles
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant Los Angeles
(IN U.S. PLAINTIFF CASES ONLY)

 

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Jeffrey Lewis, Sean C. Rotstan

Jeff Lewis Law

609 Deep Valley Drive, Suite 200, Rolling Hills Estates, CA 90274

Telephone: (310) 935-4001

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

 

 

 

 

Il. BASIS OF JURISDICTION (Place an X in one box only.) Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
; PIF DEF | ted or Principal Pl PTF DEF
1, U.S. Government 3. Federal Question (U.S. Citizen of This State Oi oi ncorpora eC or rincipa ae fy4a4
Plaintiff Government Not a Party) or Business In this state
Citizen of Another State [7] 2 [[] 2 Incorporated and Principal Place O505
(Ind C h of Business in Another State
2. U.S. Government [4 Diversity (Indicate Citizenship |Citizen or Subject of a Foreign Nation 6 6
Defendant of Parties in Item III) Foreign Country O3 03 9 Oed
IV. ORIGIN (Place an X in one box only.) vtcas Scat
1. Original 2. Removed from Oo 3. Remanded from O 4. Reinstated or Oo 5. Transferred from Another Oo 6. Weston Oo 8. iets
Proceeding State Court Appellate Court Reopened District (Specify) Transfer Direct File

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [_] No

CLASS ACTION under F.R.Cv.P. 23: []Yes No

(Check "Yes" only if demanded in complaint.)

[_] MONEY DEMANDED IN COMPLAINT: $

Vi. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
o

42 US.C. § 1983

 

   
 

Vil. NATURE OF SUIT (Place an X in one box only).

    
 
   

  

  
 
 
  
   
 

      
 
 

   
 
 
 

 
 

   
 
    
      

    

    

 
      

   

 
     
 
  
   
 

 

     
 

      

 

 
    

     
     

 

   
 
    
 

 

 

 

    

  

  

 

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CL) 375 False c [J 110 Insurance oO oO fe2 Naturalization Habeas Corpus: S
; pplication 463 Alien Detainee
O fuse ay )) O 120 Marine O Ciabilty Product 465 Oth 5 510 Motions to Vacate O 830 Patent
a er .
1 130 Miller Act []_ 290 All Other Real C1 immigration Actions | — Sentence [[ 835 Patent - Abbreviated
Oo 400 State zz (] 530General New Drug Application
Reapportionment 140 Negotiable pa yy
oO eg one ([] 535 Death Penalty
CI 410 Antitrust Instrument RS PE oth CD 840 Trademark
. 150 Recovery of 21. | 370 Other Fraud er: 880 Defend Trade Secrets Act
(] 430 Banks and Banking Overpayment & |[_] 310 Airplane O ([] 540 Mandamus/Other O of 2016 (DTSA)
Cc . .
oO . mr
oO #0 Commerce/ICC Enforcement of Oo 315 Airplane ([] 371 Truth in Lending a “IAL SE
oO 460 Deport tion vegmen Product Liability 380 Other Personal L} 550 Civil Rights si
ig ne a qu: [LL 151 Medicare Act |[ 320 Assault, Libel & C1 PropertyDamage |] sss prison Condition _|L] 861 HIA(1395f9
acketeer Influ- Slander
O enced & Corrupt Org. 152 Recovery of 330 Fed. Employers’ |L] 385 Property Damage 560 Civil Detainee ( 862 Black Lung (923)
[] 480 Consumer Credit O Defatted secent O Liability roduct Liability Conditions of ([] 863 DIWC/DIWW (405 (g))
oan (Excl. Vet. j
485 Telephone 340 Marine y 864 SSID Title XVI
O Consumer Protection Act 153 Recovery of O ; 422 Appeal 28 y ee O
345 Marine Product |(]
USC 158
[1 490 cablersatTv JLT Querpavtnentof 1CT Liability 23 Withdrawal 28 |C Seaure of Property 21
as . ithdrawa
[-] 850 Securities/Com- 160 Stockholders’ |LJ 350 Motor Vehicle OO Usc1s7 USC 881
modities/Exchange OO suits [] 385 MotorVehicle fy L] 690 Other 870 Taxes (U.S. Plaintiff or
oO $90 Other Statutory Product Liability PTT {0 Defendant)
190 Other 360 Other Personal nae 871 IRS-Third Party 26 USC
(1) 891 Agricultural Acts Contract O Injury (1 441 Voting Ol 0 air Labor Standards|[_] 7699
j 195 Contract 362 Personal Injury-
oO 803 Environmental O Product Liability O Med Malpratice [442 Employment Oo rer Labor/Mgmt.
895 Freedom of Info. |[-] 196 Franchise o 365 Personal Injury- |["] age Housings . elations
C - Product Liabili ccommodations i
Act ZReR ROLE ity 445 Ameri ith ([] 740 Railway Labor Act
is i 4 yO A
[1] 896 Arbitration 367 Health Care/ Disabilities 751 Family and Medical
[1] 210Land [1 Pharmaceutical CO Leave Act
899 Admin. Procedures Condemnation Personal Injury Employment
[1] Act/Review of Appeal of |] 220 Foreclosure Product Liability Oo 446 American with |; 790 Other Labor
Agency Decision 368 Asbestos Disabilities-Other Litigation
O 950 Constitutionality of oO 230 Rent Lease & |[] Personal Injury (1) 448 Education Oo 791 Employee Ret. Inc.
State Statutes Ejectment Product Liability Security Act
FOR OFFICE USE ONLY: Case Number:

 

CV-71 (10/20)

CIVIL COVER SHEET

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?

 

 

 

 

[1 Yes No
[[] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the [J Orange Southern
corresponding division in response to _ 5
Question E, below, and continue from there. [-] Riverside or San Bernardino Eastern

 

       

Z LE Li a
QUESTION B: Is the United States, or |B.1. Do 50% or more of the defendants who reside in

ie

YES. Your case will initially be assigned to the Southern Division.

 

one of its agencies or employees, a __|the district reside in Orange Co.? (| Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action? from there.
check one of the boxes to the right md
L] Yes [x] No ([]_ NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in

tee webr . ten YES. Your case will initially be assigned to the Eastern Division.
If "no," skip to Question C. If "yes," answer | the district reside in Riverside and/or San Bernardino oO y 7

Enter "Eastern" in response to Question E, below, and continue

 

Question B.1, at right. Counties? (Consider the two counties together.) from there.
check one of the boxes to the right NO. Your case will initially be assigned to the Western Division.
> ([] Enter "Western" in response to Question E, below, and continue

from there.

 
 
     

 

 

 

Te Z
QUESTION C: Is the United States, or |C.1. Do 50% or more of the plaintiffs who reside in the YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a __|district reside in Orange Co.? ] Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action? from there.
check one of the boxes to the right —>
L] Yes No (-] NO. Continue to Question C.2.
If"no, " skip to Question D. If "yes," answe C.2, Do 50% or more of the plaintiffs who reside in the YES. Your case will initially be assigned to the Eastern Division.
no, "skip to Question D. It'yes,’ answer district reside in Riverside and/or San Bernardino (J Enter “Eastern” in response to Question E, below, and continue
Question C.1, at right. Counties? (Consider the two counties together.) from there.
check one of the boxes to the right —> NO. Your case will initially be assigned to the Western Division.
([] Enter Western" in response to Question E, below, and continue
from there.

 

 

 

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district CO Ol
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

 

 

Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices Cc] |

apply.)

     
   

Wid Li
D.1. Is there at least one answer in Column A? D.2. Is there at least one answer in Column B?
[] Yes  [X] No []Yes  [X] No
If "yes," your case will initially be assigned to the If "yes," your case will initially be assigned to the
SOUTHERN DIVISION. EASTERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there. Enter "Eastern" in response to Question E, below.
If “no," go to question D2 to the right. —> If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

 

 

plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties? No

   

 

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [_] YES

If yes, list case number(s):

 

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

no YES

2:20-cv-02291-DOC-KES

 

Civil cases are related when they (check all that apply):

CT] A. Arise from the same or a closely related transaction, happening, or event;

B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

CJ A. Arise from the same or a closely related transaction, happening, or event;

Cc B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

X. SIGNATURE OF ATTORNEY

(OR SELF-REPRESENTED LITIGANT): $/ Jeffrey Lewis DATE: January 29, 2021

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

HIA

BL

DIWC

DIWW

ssID

RSI

Abbreviation

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

_ Allclaims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus

all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

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